     Case 2:24-cv-00341-RFB-DJA Document 20 Filed 06/10/24 Page 1 of 1




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 2
                                  UNITED STATES DISTRICT COURT
 3
                                            DISTRICT OF NEVADA
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 5
      Khari Varner, et al.,                                 Case No. 2:24-cv-00341-RFB-DJA
 6
                              Plaintiffs,
 7                                                                              Order
             v.
 8
      CPS/CCDFS, et al.,
 9
                              Defendan24.
10

11           This matter is before the Court on the return of Tera Strawter’s mail. (ECF No. 19). The

12   returned mail included a note stating, “RETURN TO SENDER,” “VACANT,” and “UNABLE

13   TO FORWARD.” (Id.). Under Local Rule IA 3-1,

14                   An attorney or pro se party must immediately file with the court
                     written notification of any change of mailing address, email address,
15
                     telephone number, or facsimile number. The notification must
16                   include proof of service on each opposing party or the party’s
                     attorney. Failure to comply with this rule may result in the dismissal
17                   of the action, entry of default judgment, or other sanctions as
                     deemed appropriate by the court.
18

19           The Court will therefore order Strawter to update their address.
20

21           IT IS THEREFORE ORDERED that Strawter must update their address on or before
22   July 10, 2024. Failure to comply with this order may result in a recommendation of dismissal to
23   the district judge.
24

25           DATED: June 10, 2024
26
                                                           DANIEL J. ALBREGTS
27                                                         UNITED STATES MAGISTRATE JUDGE
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